 Case 2:21-cv-06023-JAK-JEM Document 15 Filed 09/23/21 Page 1 of 1 Page ID #:190

                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA


                                      CIVIL MINUTES – GENERAL

 Case No.    LA CV21-06023 JAK (JEMx)                                          Date        September 23, 2021
 Title       Naveen K. Vudhamari v. Administrative Review Board, et al.




 Present: The Honorable           JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                   T. Jackson                                               Not Reported
                  Deputy Clerk                                      Court Reporter / Recorder
          Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                    Not Present                                              Not Present


 Proceedings:            (IN CHAMBERS) ORDER TO SHOW CAUSE RE DISMISSAL FOR LACK
                         OF PROSECUTION RE ADVENT GLOBAL SOLUTIONS, INC.

The Court, on its own motion, orders Plaintiff to show cause in writing no later than October 7, 2021
why this action should not be dismissed for lack of prosecution regarding overdue responses, as to
Advent Global Solutions, Inc. Pursuant to Rule 55 of the Federal Rules of Civil Procedure, Plaintiff
shall file an application requesting the entry of default. Plaintiff is advised that the Court will consider
the filing of an application, which complies with the federal rules, on or before the date upon which the
response is due, as a satisfactory response to the Order to Show Cause. The Order to Show Cause will
stand submitted upon the filing of an appropriate response. No oral argument will be heard unless
otherwise ordered by the Court. Failure to respond will result in the dismissal of this matter.


IT IS SO ORDERED.




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                                                            Initials of Preparer      TJ




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